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                   EXHIBIT 2
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         DoDEA Family Portal

     The DoDEA Family Portal will be unavailable from Friday, April 25, at 10:00 PM ET to Saturday, April 26, at 1:00 AM ET to perform system updates. Parents will        

         be unable to log into the portal during this time.



  DoDEA  Education  School Awards

  School Awards
        




                                                                                        AP Honor Roll
                                                                                        The AP School Honor Roll recognizes schools whose Advanced Placement programs
                                                                                        are delivering results for students while broadening access to advanced coursework.
                                                                                        Schools can earn this recognition annually based on criteria that reflect a
                                                                                        commitment to increasing college-going culture, providing opportunities for student…




                                                                                        Cognia System of Distinction
                                                                                        Cognia is the accreditation organization for all DoDEA schools, serving more than
                                                                                        30,000 public and private schools across the United States and more than 70
                                                                                        countries. The Schools of Distinction award recognizes schools and systems that truly
                                                                                        stand out in their service to learners. Many members of the Cognia Global Network…




https://www.dodea.edu/education/school-awards                                                                                                                                   1/3
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                                                             Green Ribbon Schools
                                                             The U.S. Department of Education Green Ribbon Schools (ED-GRS) Program is an
                                                             awards program that recognizes the most innovative schools in the Nation based on
                                                             environmental impact and energy efficiency, healthy school environments and
                                                             practices and environmental and sustainability education.




                                                             National Blue Ribbon Schools
                                                             The U.S. Department of Education recognized 356 National Blue Ribbon Schools for
                                                             2024. Among the schools honored with Blue Ribbon status was Alconbury ES,
                                                             Robinson Barracks ES, and West Point ES.




    Department of Defense Education Activity                                                                                            




  DoDEA                                                                                                                                          

  Resources                                                                                                                                      

  Helpful Links                                                                                                                                  




  dodea.edu

https://www.dodea.edu/education/school-awards                                                                                                    2/3
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  An official website of the Department of Defense. DoDEA is a Department of Defense182
                                                                                     Field Activity operating under the direction, authority, and control of the Undersecretary
  of Defense for Personnel and Readiness.
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  with the stated purpose of this website.




https://www.dodea.edu/education/school-awards                                                                                                                                                                                                      3/3
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                DoDEA Family Portal
                The DoDEA Family Portal will be unavailable from Friday, April 25, at 10:00 PM
        ET to Saturday, April 26, at 1:00 AM ET to perform system updates. Parents will                               


                be unable to log into the portal during this time.



                                                             AP Honor Roll

   DoDEA  Education  School Awards  AP Honor Roll

   AP Honor Roll
            


   The AP School Honor Roll recognizes schools whose Advanced Placement programs are
   delivering results for students while broadening access to advanced coursework. Schools can
   earn this recognition annually based on criteria that reflect a commitment to increasing
   college-going culture, providing opportunities for students to earn college credit, and
   maximizing college readiness.

   The College Board has four levels of recognition for the AP School Honor Roll based on
   qualifying criteria that are anchored in research-based relationships between AP and college
   outcomes: Platinum, Gold, Silver, and Bronze. For a school to be recognized, it must meet each
   of the criteria for their students in the most recent graduating class.

   Schools that are recognized on the AP Honor Roll may also earn the AP Access Award,
   honoring schools that demonstrate a clear and effective commitment to provide access to
   advanced coursework. Schools earn the additional award if the percentage of AP Exam takers
   who are underrepresented minority and/or low-income students mirrors the school's overall
   student demographics.

   Platinum Criteria:
         80% or more of the graduating cohort took at least one AP exam during high school.


https://www.dodea.edu/education/school-awards/ap-honor-roll                                                                1/26
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         50% or more of the graduating cohort scored a 3 or higher on at least one AP exam during
         high school.
         15% or more of the graduating cohort took five or more AP exams during high school with
         at least one being taken in the 9th or 10th grade.

   Gold Criteria:
         65% or more of the graduating cohort took at least one AP exam during high school.
         35% or more of the graduating cohort scored a 3 or higher on at least one AP exam during
         high school.
         10% or more of the graduating cohort took five or more AP exams during high school with
         at least one being taken in the 9th or 10th grade.

   Silver Criteria:
         50% or more of the graduating cohort took at least one AP exam during high school.
         30% or more of the graduating cohort scored a 3 or higher on at least one AP exam during
         high school.
         5% or more of the graduating cohort took five or more AP exams during high school with at
         least one being taken in the 9th or 10th grade.

   Bronze Criteria:
         40% or more of the graduating cohort took at least one AP exam during high school.
         25% or more of the graduating cohort scored a 3 or higher on at least one AP exam during
         high school.
         2% or more of the graduating cohort took five or more AP exams during high school with at
         least one being taken in the 9th or 10th grade.

   You can find more information on the Advanced Placement Honor Roll here:
   https://apcentral.collegeboard.org/exam-administration-ordering-
   scores/scores/awards/school-districts-awards 


   AP Honor Roll Awardees


   AP Honor Roll - Platinum




https://www.dodea.edu/education/school-awards/ap-honor-roll                                          2/26
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                                                                  185
                                            School



                                                                       AFNORTH Middle High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                            School



                                                                       Alconbury Middle High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                           School



                                                                      Ankara Elementary High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                             School



                                                                        Ansbach Middle High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            3/26
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                                                             186
      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                               School



                                                                     Aviano Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                              School



                                                                    Bahrain Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                           School



                                                                  Baumholder Middle High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       4/26
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                                                                  187
                                          School



                                                                     Brussels Elementary High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                              School



                                                                        Edgren Middle High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                              School


                                                                        EJ King Middle High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                            School


                                                                       Hohenfels Middle High School


https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            5/26
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      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                        Kadena High School

      District                                  PAC-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                              School



                                                                    Kaiserslautern High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                        Kinnick High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       6/26
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                                                                  189
                                                   School



                                                                           Kubasaki High School

      District                                  PAC-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                               School



                                                                        Naples Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                School



                                                                         Osan Middle High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                     School



                                                                             Ramey Unit School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            7/26
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      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                School



                                                                      Rota Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                         SHAPE High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                             School



                                                                   Sigonella Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                        8/26
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                                                                  191
                                               School



                                                                        Spangdahlem High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                   School



                                                                           Stuttgart High School

      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                            Vicenza High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                            Vilseck High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            9/26
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      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                 School



                                                                      Wiesbaden High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                    School



                                                                        Yokota High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

                                                School



                                                                     Zama Middle High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2024

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       10/26
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                                                                     AP Honor Roll |05/07/25
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                                                                  193
                                            School



                                                                      AFNORTH Middle High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                            School



                                                                      Alconbury Middle High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                             School



                                                                       Ansbach Middle High School

      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                              School



                                                                        Edgren Middle High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            11/26
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      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                              School


                                                                    EJ King Middle High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                            School


                                                                  Hohenfels Middle High School

      District                                  EU-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                                 School



                                                                      Humphreys High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       12/26
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                                              School



                                                                        Kaiserslautern High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                                   School



                                                                           Kubasaki High School

      District                                  PAC-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                               School



                                                                        Naples Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                                School



                                                                         Rota Middle High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            13/26
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                                                             196
      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                                    School



                                                                        SHAPE High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                             School



                                                                   Sigonella Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                               School



                                                                    Spangdahlem High School

      District                                  EU-West

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       14/26
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                                                                  197
                                                    School



                                                                            Vicenza High School

      District                                  EU-South

      Award                                     AP Honor Roll - Platinum

      Year                                      2023

                                                    School



                                                                            Yokota High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Platinum

      Year                                      2023


   AP Honor Roll - Gold


                                               School



                                                                        Daegu Middle High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Gold

      Year                                      2024




https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            15/26
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                                                                     AP Honor Roll |05/07/25
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                                                                  198
                                             School


                                                                       Fort Knox Middle High School

      District                                  Southeast

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                     School



                                                                             Guam High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                 School



                                                                          Humphreys High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                 School



                                                                          Lakenheath High School


https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            16/26
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      District                                  EU-West

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                  School



                                                                       MC Perry High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                  School



                                                                       Ramstein High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Gold

      Year                                      2024

                                                    School



                                                                        Antilles High School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Gold

      Year                                      2023

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       17/26
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                                                                  200
                                               School



                                                                        Aviano Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                              School



                                                                        Bahrain Middle High School

      District                                  EU-South

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                          School



                                                                     Brussels Elementary High School

      District                                  EU-West

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                               School



                                                                        Daegu Middle High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            18/26
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                                                             201
      District                                  PAC-West

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                             School


                                                                   Fort Knox Middle High School

      District                                  Southeast

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                    School



                                                                        Kadena High School

      District                                  PAC-South

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                    School



                                                                        Kinnick High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Gold

      Year                                      2023


https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       19/26
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                                                                  202
                                                 School



                                                                          Lakenheath High School

      District                                  EU-West

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                    School



                                                                            Lejeune High School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                School



                                                                         Osan Middle High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                    School



                                                                            Vilseck High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            20/26
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                                                             203
      District                                  EU-East

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                 School



                                                                       Wiesbaden High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                      School



                                                               WT Sampson Elementary High School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Gold

      Year                                      2023

                                                School



                                                                       Zama Middle High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Gold

      Year                                      2023

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                       21/26
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                                                                  204
   AP Honor Roll - Silver


                                                    School



                                                                            Lejeune High School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Silver

      Year                                      2024

                                             School



                                                                       Quantico Middle High School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Silver

      Year                                      2024

                                           School



                                                                     Ankara Elementary High School

      District                                  EU-South

      Award                                     AP Honor Roll - Silver

      Year                                      2023




https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            22/26
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                                                                  205
                                               School



                                                                        Fort Campbell High School

      District                                  Southeast

      Award                                     AP Honor Roll - Silver

      Year                                      2023

                                                     School



                                                                             Guam High School

      District                                  PAC-West

      Award                                     AP Honor Roll - Silver

      Year                                      2023

                                                  School



                                                                           MC Perry High School

      District                                  PAC-East

      Award                                     AP Honor Roll - Silver

      Year                                      2023

                                             School



                                                                       Quantico Middle High School

https://www.dodea.edu/education/school-awards/ap-honor-roll                                                            23/26
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                                                              206
      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Silver

      Year                                      2023

                                                  School



                                                                         Ramstein High School

      District                                  EU-Central

      Award                                     AP Honor Roll - Silver

      Year                                      2023

                                                   School



                                                                         Stuttgart High School

      District                                  EU-East

      Award                                     AP Honor Roll - Silver

      Year                                      2023


   AP Honor Roll - Bronze


                                                    School



                                                                         Antilles High School

      District                                  Mid-Atlantic



https://www.dodea.edu/education/school-awards/ap-honor-roll                                                        24/26
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                                                                 207
      Award                                     AP Honor Roll - Bronze

      Year                                      2024

                                               School



                                                                      Fort Campbell High School

      District                                  Southeast

      Award                                     AP Honor Roll - Bronze

      Year                                      2024

                                                     School



                                                                           Ramey Unit School

      District                                  Mid-Atlantic

      Award                                     AP Honor Roll - Bronze

      Year                                      2023




      Department of Defense Education Activity                                                               




   DoDEA                                                                                                             


   Resources                                                                                                         


   Helpful Links                                                                                                     




https://www.dodea.edu/education/school-awards/ap-honor-roll                                                          25/26
          Case
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                                                                     AP Honor Roll |05/07/25
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   An official website of the Department of Defense. DoDEA is a Department of Defense Field
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https://www.dodea.edu/education/school-awards/ap-honor-roll                                                                         26/26
          Case
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                DoDEA Family Portal
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                be unable to log into the portal during this time.



                                               Cognia System of Distinction

   DoDEA  Education  School Awards  Cognia System of Distinction

   Cognia System of Distinction
            


   Cognia is the accreditation organization for all DoDEA schools, serving more than 30,000 public
   and private schools across the United States and more than 70 countries. The Schools of
   Distinction award recognizes schools and systems that truly stand out in their service to
   learners. Many members of the Cognia Global Network seek accreditation from Cognia, which
   is earned as the result of extensive internal preparation and a review by a team of outside
   educators. Once an institution is accredited, it engages in similar preparation and review every
   five years to maintain that designation.


   Past Cognia System of Distinction Awardees

   Once an institution is accredited, it engages in similar preparation and review every five years
   to maintain that designation.


      School                                    AFNorth Elementary School

      District                                  Europe West

      Year                                      2020 - 2021



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                      1/12
          Case
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                                                                         of Distinction | DoDEA Page 32 of 58 PageID#
                                                              210
      School                                    AFNorth Middle/High School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Alconbury Elementary School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Alconbury Middle/High School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Ankara Elementary/High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Amelia Earhart Intermediate School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Aviano Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Aviano Middle/High School

      District                                  Europe South



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                 2/12
          Case
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                                                               211
      Year                                      2023 - 2024

      School                                    Bahrain Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Bahrain Middle/High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Bechtel Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Bob Hope Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Brussels Elementary/High School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Ernest J. King Middle/High School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Feltwell Elementary School



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  3/12
          Case
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                                                               212
      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Ikego Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Iwakuni Intermediate School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Iwakuni Middle School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Jack N Darby Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Joan K. Mendel Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    John O Arnn Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  4/12
          Case
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                                                              213
      School                                    Kadena Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Kadena High School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Kadena Middle School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Killin Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Kinser Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Kleine Brogel Elementary School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Kubasaki High School

      District                                  Pacific South



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                 5/12
          Case
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                                                                214
      Year                                      2021 - 2022

      School                                    Lakenheath Elementary School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Lakenheath High School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Lakenheath Middle School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Lester Middle School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Liberty Intermediate School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Livorno Elementary/Middle School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Matthew C Perry High School



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                   6/12
          Case
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                                                                215
      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Matthew C Perry Primary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Naples Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Naples Middle/High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Nile C Kinnick High School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Ralph F. Stearley Primary School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Robert D Edgren Middle/High School

      District                                  Pacific East

      Year                                      2021 - 2022



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                   7/12
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      School                                    Rota Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Rota Middle/High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Ryukyu Middle School

      District                                  Pacific South

      Year                                      2021 - 2022

      School                                    Sasebo Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Sevilla Elementary/Middle School

      District                                  Europe East

      Year                                      2023 - 2024

      School                                    SHAPE Elementary School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    SHAPE High School

      District                                  Europe West



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  8/12
          Case
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      Year                                      2020 - 2021

      School                                    SHAPE Middle School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Shirley Lanham Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Sigonella Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Sigonella Middle/High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Sollars Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Spangdahlem Elementary School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Spangdahlem High School



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  9/12
          Case
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                                                               218
      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Spangdahlem Middle School

      District                                  Europe West

      Year                                      2020 - 2021

      School                                    Sullivans Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Vicenza Elementary School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Vicenza Middle School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Vicenza High School

      District                                  Europe South

      Year                                      2023 - 2024

      School                                    Yokosuka Middle School

      District                                  Pacific East

      Year                                      2021 - 2022



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  10/12
          Case
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      School                                    Yokota High School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Yokota Middle School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Yokota West Elementary School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Zama Middle/High School

      District                                  Pacific East

      Year                                      2021 - 2022

      School                                    Zukeran Elementary School

      District                                  Pacific South

      Year                                      2021 - 2022




      Department of Defense Education Activity                                                                   




   DoDEA                                                                                                                 


   Resources                                                                                                             



https://www.dodea.edu/education/school-awards/cognia-system-distinction                                                  11/12
          Case
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   Helpful Links                                                                                                                   




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                                                     Green Ribbon Schools

   DoDEA  Education  School Awards  Green Ribbon Schools  Home

   Green Ribbon Schools
            




   
   The U.S. Department of Education Green Ribbon Schools  (ED-GRS) Program, which was
   launched in 2011, is an awards program that recognizes the most innovative schools in the
   Nation based on three achievement areas. The areas, collectively known as the Pillars, are
   listed below.

         Environmental impact and energy efficiency
         Healthy school environments and practices
         Environmental and sustainability education

   The Department of Defense Education Activity (DoDEA) has participated in the ED-GRS
   Program for years. Since joining the program in 2015, eight DoDEA schools have been awarded
   Federal ED-GRS status as recognition of their tremendous gains in terms of facilities, nutrition
   and fitness, and incorporating environmental and sustainability education into curriculum.

   For school year 2024-25, DoDEA Headquarters (HQ) aims at expanding awareness of the ED-
   GRS Program by encouraging district participation in guiding schools through the application
   process. Additionally, DoDEA HQ aims at improving the quality of the application process by

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   providing more resources, guidance to applicants and support throughout the application
   process. The attached  DoDEA GRS application and the  DoDEA GRS scoring matrix are
   provided for interested schools. All pillars must be completed The table below contains details
   of the application process.


      ED-GRS Application Submission Timeline

      Deadline

            Applications due to the District Superintendent for review and signature.
            Applications forwarded to the Region Director for Student Excellence for review and
            signature.


      Jan 10, 2025


            Applications submitted by e-mail to  Jude Scally at DoDEA HQ. A confirmation email
            will be sent to applicants to confirm the application submission.



      Jan 17, 2025


   Thank you for your unwavering commitment and tireless efforts on behalf of our military-
   connected students. Let us remember that transforming schools into sustainable and healthy
   learning environments will truly make a difference. Please direct your questions or concerns to
   Ms. Jude Scally at  Jude.Scally@dodea.edu.




   Past Green Ribbon School Awardees



      School Name                               Humphreys Central Elementary School

      Area                                      USAG Humphreys, Korea

      Year                                      2024



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      School Name                               Spangdahlem Middle School

      Area                                      Spangdahlem, Germany

      Year                                      2018

      School Name                               Tarawa Terrace Elementary School

      Area                                      Lejeune, North Carolina

      Year                                      2017

      School Name                               Kimberly Hampton Primary School

      Area                                      Fort Bragg, North Carolina

      Year                                      2016

      School Name                               Van Voorhis Elementary School

      Area                                      Fort Knox, Kentucky

      Year                                      2016

      School Name                               Garmisch Elementary/Middle School

      Area                                      Garmisch, Germany

      Year                                      2016

      School Name                               Charles P. Murray Elementary School

      Area                                      Fort Stewart, Georgia

      Year                                      2015

      School Name                               Wiesbaden Middle School

      Area                                      Wiesbaden, Germany



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      Year                                      2015




      Department of Defense Education Activity                                                                              




   DoDEA                                                                                                                           


   Resources                                                                                                                       


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https://www.dodea.edu/education/school-awards/green-ribbon-schools                                                                       4/4
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   Home  Education  School Awards

   National Blue Ribbon Schools
            




   The U.S. Department of Education recognized 356 National Blue Ribbon Schools for 2024. The
   recognition is based on a school’s overall academic performance or progress in closing
   achievement gaps among student subgroups.

   Among the schools honored with Blue Ribbon status were three Department of Defense
   Education Activity (DoDEA) schools:

         Alconbury Elementary School (United Kingdom)                                                            
https://www.dodea.edu/education/school-awards/national-blue-ribbon-schools                                               1/12
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         Robinson Barracks Elementary School (Germany)
         West Point Elementary School (New York, USA)

   Less than 1% of public schools across the nation receive this honor each year.

   Read Blue Ribbon Press Release...



               2024 Blue Ribbon School Award Winners




   National Recognition
   National Blue Ribbon Schools are honored at an annual awards ceremony in Washington, DC,
   where each receives a plaque and flag to signify its exemplary status. These schools serve as
   examples for other schools throughout the nation and details of their achievements are shared
   on the U.S. Department of Education's website.

   Founded in 1982, the National Blue Ribbon Schools Program  recognizes public and private
   elementary, middle, and high schools where students perform at very high levels or where
   significant improvements are being made in students' academic achievement. A National Blue
   Ribbon Schools flag overhead has become a mark of excellence in education recognized by
   everyone from parents to policy-makers in thousands of communities. Since the program's
   founding, the U.S. Department of Education has bestowed this coveted award on more than
   9,000 of America's schools. Blue Ribbon Schools share some key qualities.

                                                                                               
https://www.dodea.edu/education/school-awards/national-blue-ribbon-schools                            2/12
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         Their leaders not only articulate a vision of excellence and hold everyone to high standards,
         they stay close to the real action of teaching and learning.
         Mutual respect and trust run deep in their cultures.
         The whole school community embodies a sense of collegiality and commitment and
         members are supported by mentoring and professional development.
         Data from many sources are used diligently to adapt teaching and learning to support every
         student.
         Families and educators work together in partnership.



   Eligibility
   The Department of Education invites Chief State School Officers (CSSOs) for all states and the
   District of Columbia, Puerto Rico, the Virgin Islands, the Bureau of Indian Education (BIE), and
   the Department of Defense Education Activity (DoDEA) to apply for recognition as National
   Blue Ribbon Schools. In submitting nominated schools, the CSSO of each state and these
   entities must certify that the nominated schools meet the minimum requirements established
   by the Department and describe any other criteria used by the state to nominate the schools.
   States must rely on their state assessment systems to identify schools for submission to the
   Secretary. Each state's nomination criteria must pertain equally to all schools nominated by the
   state. Visit the Department of Education  for details on eligibility and visit our Flickr  pages to
   see photos from previous winners.


                             DoDEA Schools Recognized (1982 Through 2024)


      School Name                                Alconbury Elementary School

      Area                                       DoDEA Europe - Europe West

      Year                                       2024, 2018

      School Name                                Robinson Barracks Elementary School

      Area                                       DoDEA Europe - Europe East

      Year                                       2024

      School Name                                West Point Elementary School

      Area                                       DoDEA Americas - Mid-Atlantic
                                                                                                 
https://www.dodea.edu/education/school-awards/national-blue-ribbon-schools                                 3/12
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      Year                                       2024, 2017

      School Name                                Vicenza Elementary School

      Area                                       DoDEA Europe - Europe South

      Year                                       2023

      School Name                                Naples Elementary School

      Area                                       DoDEA Europe - Europe South

      Year                                       2022

      School Name                                Shirley Lanham Elementary School

      Area                                       DoDEA Pacific - Pacific East

      Year                                       2022

      School Name                                Rota Elementary School

      Area                                       DoDEA Europe - Europe South

      Year                                       2022

      School Name                                West Point Middle School

      Area                                       DoDEA Americas - Mid-Atlantic

      Year                                       2021, 2011, 1997-98

      School Name                                Andre Lucas Elementary School

      Area                                       DoDEA Americas - Southeast

      Year                                       2021

      School Name                                Brussels Elementary High School

                                                                                                              
https://www.dodea.edu/education/school-awards/national-blue-ribbon-schools                                           4/12
          Case
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      Area                                       DoDEA Europe - Europe West

      Year                                       2021

      School Name                                Heroes Elementary School

      Area                                       DoDEA Americas - Mid-Atlantic

      Year                                       2020

      School Name                                Landstuhl Elementary/Middle School

      Area                                       DoDEA Europe - Europe East

      Year                                       2020

      School Name                                Sasebo Elementary School

      Area                                       DoDEA Pacific - Pacific East

      Year                                       2020

      School Name                                AFNorth Middle/High School

      Area                                       The Netherlands - Europe West

      Year                                       2019

      School Name                                Maxwell AFB Elementary/Middle School

      Area                                       Alabama - America - South East

      Year                                       2019

      School Name                                Vicenza High School

      Area                                       Vicenza, Italy - Europe South

      Year                                       2019

                                                                                                              
https://www.dodea.edu/education/school-awards/national-blue-ribbon-schools                                           5/12
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      School Name                                Patch Elementary School

      Area                                       Germany

      Year                                       2018

      School Name                                E.A. White Elementary School

      Area                                       Fort Benning, GA

      Year                                       2018

      School Name                                Patch Middle School

      Area                                       Germany

      Year                                       2017-18

      School Name                                Killin Elementary School

      Area                                       Okinawa, Japan

      Year                                       2017

      School Name                                Ramstein Middle School

      Area                                       Germany

      Year                                       2016

      School Name                                Seoul American Elementary School

      Area                                       Korea

      Year                                       2016

      School Name                                McBride Elementary School

      Area                                       Fort Benning, GA

                                                                                                              
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                                                                  231
      Year                                       2016

      School Name                                Bowley Elementary School

      Area                                       Fort Bragg, NC

      Year                                       2015

      School Name                                Wiesbaden Middle School

      Area                                       Germany

      Year                                       2015

      School Name                                Osan Middle School

      Area                                       Korea

      Year                                       2015

      School Name                                Matthew C. Perry Elementary School

      Area                                       Japan

      Year                                       2014

      School Name                                Aukamm Elementary School

      Area                                       Germany

      Year                                       2014

      School Name                                Lakenheath Middle School

      Area                                       United Kingdom

      Year                                       2013

      School Name                                Kingsolver Elementary School

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      Area                                       Fort Knox, KY

      Year                                       2013

      School Name                                Seoul American High School

      Area                                       Seoul, Korea

      Year                                       2013
                                                 1984-85

      School Name                                SHAPE American Elementary School

      Area                                       Mons, Belgium

      Year                                       2012
                                                 2000-01

      School Name                                Charles Turner Joy Elementary/Middle School

      Area                                       Chinhae, S. Korea

      Year                                       2012

      School Name                                Boeblingen Elementary Middle School

      Area                                       Boeblingen, Germany

      Year                                       2012

      School Name                                Fort Campbell High School

      Area                                       Fort Campbell, KY

      Year                                       2001-02

      School Name                                Quantico Middle/High School

      Area                                       Quantico, VA

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      Year                                       2001-02

      School Name                                Mahaffey Middle School

      Area                                       Fort Campbell

      Year                                       1999-2000
                                                 1990-91

      School Name                                Hood Street Elementary School

      Area                                       Columbia, South Carolina

      Year                                       1996-97

      School Name                                Amelia Earhart Intermediate School

      Area                                       Okinawa, Japan

      Year                                       1996-97

      School Name                                Roosevelt Roads Elementary School

      Area                                       Roosevelt Roads Station, Puerto Rico

      Year                                       1996-97

      School Name                                Augsburg American High School

      Area                                       Augsburg, Germany

      Year                                       1994-96

      School Name                                Sollars Elementary School

      Area                                       Misawa, Japan

      Year                                       1993-94

      School Name                                Wuerzburg American Middle School
                                                                                                              
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      Area                                       Wuerzburg, Germany

      Year                                       1992-93

      School Name                                Coevorden American School

      Area                                       Coevorden, Netherlands

      Year                                       1991-92

      School Name                                Hahn American High School

      Area                                       Hahn Air Base, Germany

      Year                                       1990-91

      School Name                                Ft. Kobbe Elementary School

      Area                                       DoDDS-Panama Region

      Year                                       1989-90

      School Name                                Curundu Junior High School

      Area                                       Curundu, Panama

      Year                                       1988-89

      School Name                                Nile C. Kinnick High School

      Area                                       Yokosuka, Japan

      Year                                       1988-89

      School Name                                Aschaffenburg American School

      Area                                       Aschaffenburg, Germany

      Year                                       1987-88

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      School Name                                Bonn American High School

      Area                                       Bonn, Germany

      Year                                       1986-87

      School Name                                Bahrain Elementary/High School

      Area                                       Manama, Bahrain

      Year                                       1984-85

      School Name                                Heidelberg Middle School

      Area                                       Heidelberg, Germany

      Year                                       1984-85

      School Name                                Frankfurt American High School

      Area                                       Frankfurt, Germany

      Year                                       1983-84

      School Name                                Heidelberg High School

      Area                                       Heidelberg, Germany

      Year                                       1992-93
                                                 1983-84

      School Name                                Rhein Main Junior High School

      Area                                       Rhein Main, Germany

      Year                                       1983-84




      Department of Defense Education Activity                                                                
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   Resources                                                                                                                       


   Helpful Links                                                                                                                   




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